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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


LEON VAN WINKLE,

       Plaintiff,

v.                                                           Case No. 1:22-cv-00261

MARATHON PETROLEUM
CORPORATION; MARATHON
PETROLEUM LOGISTICS
SERVICES LLC; MARATHON
PETROLEUM COMPANY LP,

       Defendants.

                                   NOTICE OF REMOVAL

       Defendants Marathon Petroleum Corporation, Marathon Petroleum Logistics Services

LLC, and Marathon Petroleum Company LP (collectively “Defendants”), by and through their

undersigned counsel, hereby provide notice pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 of the

removal of this litigation from the First Judicial District Court of New Mexico to the United States

District Court for the District of New Mexico.

       Federal jurisdiction exists in this action because there is complete diversity of citizenship

between the parties and the amount in controversy exceeds $75,000, exclusive of interest and costs.

Therefore, this Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)(1).

Defendants file this Notice without waiving any defenses, exceptions, or obligations that may exist

in their favor in state or federal court. As grounds for removal, Defendants state as follows:

       1.      On or about March 4, 2022, Plaintiff Leon Van Winkle filed his Original Complaint

for Personal Injuries (the “Complaint”) in Leon Van Winkle v. Marathon Petroleum Corporation,

et al., Case No. D-117-CV-2022-00070, previously pending in the First Judicial District Court of

New Mexico, Rio Arriba County. Plaintiff alleged that he was injured in two incidents involving

chemical exposures at Defendants’ oil refinery located in Gallup, New Mexico. See Compl. ¶ 8.
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       2.      As set forth more fully below, this case is properly removed because this Court has

diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1). The amount in controversy with respect

to all claims exceeds $75,000, exclusive of interest and costs. Further, there is complete diversity

of citizenship between the parties because Plaintiff is a citizen of Arizona and Defendants are

citizens of Ohio and Delaware.

I.     The Procedural Requirements of Removal Are Met.

       3.      Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process, pleadings,

orders, and other documents filed in the state-court action are attached hereto as Exhibit A.

       4.      Defendants were served with a summons and a copy of the Complaint on March

15, 2022. Accordingly, removal is timely as this Notice is being filed within thirty (30) days after

service of process. See 28 U.S.C. § 1446(b).

       5.      The United States District Court for the District of New Mexico is the proper venue

for this action under 28 U.S.C. § 1446(a). Section 1446(a) requires the defendant to remove the

case to the “district and division embracing the place where such action is pending.” Pursuant to

28 U.S.C. § 111, the United States District Court for the District of New Mexico is the federal

jurisdiction encompassing the First Judicial District Court for Rio Arriba County, New Mexico,

where this lawsuit was pending. Accordingly, venue is proper in this district under 28 U.S.C.

§ 1441(a).

       6.      As discussed more thoroughly in Part II infra, Defendants are not citizens of New

Mexico, the state where this action was brought, see 28 U.S.C. § 1441(b)(2), nor citizens of the

State of Arizona, the state of which Plaintiff is a citizen. See Compl. ¶ 1.

       7.      Pursuant to 28 U.S.C. § 1446(b)(2)(A), all Defendants properly joined and served

consent to this Removal.




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           8.    A copy of this Notice of Removal is being served on Plaintiff and a copy is being

filed with the state court. See 28 U.S.C. § 1446(d).

           9.    If any question arises about this removal, Defendants respectfully request the

opportunity to present briefing and oral argument in support of removal.

II.        Removal Is Proper Because This Court Has Subject-Matter Jurisdiction Pursuant to
           28 U.S.C. §§ 1332 and 1441.

           10.   Under 28 U.S.C. § 1441(a), a defendant may remove “any civil action brought in a

State court of which the district courts of the United States have original jurisdiction.” Congress

gave federal courts original jurisdiction over “all civil actions where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs, and is between . . . citizens

of different States.” 28 U.S.C. § 1332(a)(1). Here, the Court has diversity jurisdiction because the

amount in controversy exceeds $75,000 and there is complete diversity of citizenship between the

parties.

           A.    The Amount-in-Controversy Requirement Is Satisfied.

           11.   Although here the Complaint is silent on the specific amount of damages sought,

“a plaintiff cannot avoid removal merely by declining to allege the jurisdictional amount [in

controversy].” See Aranda v. Foamex Int'l, 884 F. Supp. 2d 1186, 1202 (D.N.M. 2012) (citing

McPhail, 529 F.3d at 955) (Browning, J.). “[I]n the absence of an explicit demand for more than

$75,000, . . . the defendant may rely on an estimate of the potential damages from the allegations

in the complaint.” McPhail v. Deere & Co., 529 F.3d 947, 955 (10th Cir. 2008) (citing Meridian

Security Ins. Co. v. Sadowski, 441 F.3d 536, 541 (7th Cir. 2006)). “A complaint that presents a

combination of facts and theories of recovery that may support a claim in excess of $75,000 can

support removal.” Id.; Enriquez v. Almaraz, No. 19-CV-15-MV-KBM, 2019 WL 2330880, at *1

(D.N.M. May 31, 2019).



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       12.     “The Supreme Court of the United States of America recently clarified that a

defendant seeking removal to federal court need only include in the notice of removal a plausible

allegation that the amount in controversy exceeds the jurisdictional threshold.” See Graham v.

Troncoso, 2015 WL 1568433, at *6 (D.N.M. Mar. 30, 2015) (citing Dart Cherokee Basin

Operating Co. v. Owen, 135 S.Ct. 547, 554 (2014)). The district court should consider outside

evidence to find whether the amount in controversy requirement is satisfied “only when the

plaintiff contests, or the court questions, the defendant’s allegation.” Id.

       13.     “A defendant (like a plaintiff) is entitled to stay in federal court unless it is ‘legally

certain’ that less than $75,000 is at stake.” McPhail, 529 F.3d at 954.

       14.     Here, the face of the Complaint reveals that the amount-in-controversy requirement

is satisfied. Plaintiff has alleged that he was injured as a result of two incidents involving chemical

exposures at an oil refinery in Gallup, New Mexico. Compl. ¶ 8. Plaintiff contends that after one

of the exposures, he “immediately felt pins and needles to his face and burning in his lungs.”

Compl. ¶ 12. After the second exposure, Plaintiff alleged that his “face began to burn.” Compl.

¶ 15. As a result of these alleged injuries, Plaintiff seeks damages for past and future medical care,

past and future pain and suffering, loss of enjoyment of life, disability and physical impairment,

disfigurement, lost earnings, and lost earning capacity. See Compl. ¶¶ 28–35.

       15.     Courts have routinely held that when plaintiffs, as here, “allege serious, permanent

injuries and significant medical expenses, it is obvious from the face of the complaint that the

plaintiffs’ damages exceeded the jurisdictional amount . . . .” McCoy by Webb v. Gen. Motors

Corp., 226 F. Supp. 2d 939, 941 (N.D. Ill. 2002) (collecting cases); see also Aranda, 884 F. Supp.

2d at 1207 (holding that the amount-in-controversy requirement was met where the plaintiff

claimed to have “suffered serious, permanent injuries, which required medical intervention,




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surgery, and time away from work, and which left him with a need for future medical treatment, a

limp, and an inability to perform major life activities”).

        16.     Where a complaint does not contain dispositive allegations of the amount in

controversy, the jurisdictional amount is determined by the allegations in the underlying matter.

See, e.g. Laughlin v. K-Mart Corp., 50 F.3d 871, 873 (10th Cir. 1995). Calculations of the amount

in controversy include both compensatory and punitive damages. See, e.g., Bell v. Preferred Life

Assur. Soc. of Montgomery, Alabama, 320 U.S. 238, 240 (1943); Watson v. Blankenship, 20 F.3d

383, 386 (10th Cir. 1994).

        17.     In addition to compensatory damages, Plaintiff also seeks to recover punitive

damages. See Compl. ¶ 36. “Punitive damages may be considered in determining the requisite

jurisdictional amount.” Woodmen of World Life Ins. Soc'y v. Manganaro, 342 F.3d 1213, 1218

(10th Cir. 2003); see also Woodward v. Newcourt Commercial Finance Corp., 60 F.Supp.2d 530,

532 (D.S.C. 1999) (Plaintiff’s “claim for punitive damages alone makes it virtually impossible to

say that the claim is for less than the jurisdictional amount”). Here, Plaintiff contends that

Defendants’ actions were “malicious, willful, reckless, and/or wanton.” Compl. ¶ 25. Accordingly,

the fact that Plaintiff seeks to recover punitive damages further pushes the amount in controversy

over the jurisdictional limit.

        18.     Considering the nature of Plaintiff’s alleged injuries and the scope of the damages

sought, Plaintiff’s claims plainly satisfy the amount-in-controversy requirement.

        B.      Complete Diversity of Citizenship Is Present.

        19.     There is complete diversity of citizenship between the parties. Complete diversity

exists where “the citizenship of each plaintiff is diverse from the citizenship of each defendant.”

Caterpillar Inc. v. Lewis, 519 U.S. 61, 68 (1996).




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       20.      Defendant Marathon Petroleum Corporation is, and was at the time Plaintiff

commenced this action, a Delaware corporation with its principal place of business in Ohio. See

Ex. B, Shane Pfleiderer Aff. ¶¶ 4–5. Accordingly, Marathon Petroleum Corporation is deemed to

be a citizen of Delaware and Ohio for purposes of federal diversity jurisdiction. See 28 U.S.C.

§ 1332(c)(1).

       21.      Defendant Marathon Petroleum Company LP is, and was at the time Plaintiff

commenced this action, a Delaware limited partnership. See Ex. B, Pfleiderer Aff. ¶ 6. A limited

partnership is a citizen of each state where its members are citizens. Carden v. Arkoma Associates,

494 U.S. 185, 195 (1990). Marathon Petroleum Company LP has three members: Giant Industries,

Inc., Marathon Petroleum Corporation, and MPC Investment LLC. See Ex. B, Pfleiderer Aff. ¶ 6.

       22.      The citizenship of Defendant Marathon Petroleum Company LP’s members is, and

was at the time Plaintiff commenced this action, as follows:

                a.    Giant Industries, Inc. is a Delaware corporation with its principal place of

       business in Ohio, see id. ¶ 7;

                b.    Marathon Petroleum Corporation is a Delaware corporation with its

       principal place of business in Ohio, see id. ¶¶ 4–5;

                c.    MPC Investment LLC is a Delaware limited liability company whose sole

       member is Marathon Petroleum Corporation, see id. ¶ 8.

       23.      Accordingly, Marathon Petroleum Company LP is deemed to be a citizen of

Delaware and Ohio for purposes of federal diversity jurisdiction.

       24.      Defendant Marathon Petroleum Logistics Services LLC is, and was at the time

Plaintiff commenced this action, a Delaware limited liability company whose sole member is

Marathon Petroleum Company LP. See id. A limited liability company is a citizen of all states




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where its members are citizens. Siloam Springs Hotel, LLC v. Century Sur. Co., 781 F.3d 1233,

1237–38 (10th Cir. 2015). As shown above, Marathon Petroleum Company LP is a citizen of

Delaware and Ohio. Therefore, Marathon Petroleum Logistics Services LLC is also a citizen of

Delaware and Ohio.

       25.     Plaintiff’s Complaint alleges that he is a citizen of Arizona. Compl. ¶ 1.

       26.     Accordingly, Defendants are citizens of Delaware and Ohio, whereas Plaintiff is a

citizen of Arizona. Because the citizenship of Plaintiff is diverse from the citizenship of each

Defendant, there is complete diversity of citizenship between the parties.

                                         CONCLUSION

       WHEREFORE, notice is given that this action is removed from the First Judicial District

Court of New Mexico to the United States District Court for the District of New Mexico.




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Dated: April 6, 2022                        Respectfully submitted,

                                            MODRALL, SPERLING, ROEHL, HARRIS
                                              & SISK, P.A.

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        WE HEREBY CERTIFY that on the 6th day of April, 2022, we filed the foregoing
electronically through the CM/ECF system and served the following counsel via electronic mail:

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By: /s/ Earl E. DeBrine, Jr.
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